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				IN THE MATTER OF STRIKING OF NAMES OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION2023 OK 68Case Number: SCBD-7261Decided: 06/12/2023As Corrected: June 19, 2023THE SUPREME COURT OF THE STATE OF OKLAHOMA

Cite as: 2023 OK 68, __ P.3d __

				

FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION. 
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IN THE MATTER OF THE STRIKING OF NAMES OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION FOR NONPAYMENT OF 2022 DUES


ORDER STRIKING NAMES


The Board of Governors of the Oklahoma Bar Association filed an Application for Order Striking Names of attorneys from the Oklahoma Bar Association's membership rolls for failure to pay dues as members of the Oklahoma Bar Association for the year 2022.
Pursuant to the Rules Creating and Controlling the Oklahoma Bar Association (Rules), 5 O.S. 2011, ch. 1, app. 1, art. VIII, §2, the Oklahoma Bar Association's members named on Exhibit A, attached hereto, were suspended from membership in the Oklahoma Bar Association and prohibited from practicing law in the State of Oklahoma by this Court's Order of June 6, 2022 and thereafter by Correction Order dated June 9, 2022, for failure to pay their 2022 dues in accordance with Article VIII, Section 2 of the Rules. Based upon the application, this Court finds that the Board of Governors determined at its May 19, 2023 meeting that none of the Oklahoma Bar Association members named on Exhibit A, attached hereto, have applied for reinstatement, pursuant to Article VIII, Section 4 of the Rules, at the time of the filing of its application. The Board of Governors further declared that the members named on Exhibit A, attached hereto, shall cease to be members of the Oklahoma Bar Association and that their names should therefore be stricken from the membership rolls and the Roll of Attorneys on June 12, 2023, pursuant to Article VIII, Section 5 of the Rules. This Court further finds that the actions of the Board of Governors of the Oklahoma Bar Association are in compliance with the Rules.
IT IS THEREFORE ORDERED that the attorneys named as set forth on Exhibit A, attached hereto, are hereby stricken from the Roll of Attorneys on June 12, 2023 for failure to pay their dues as members of the Association for the year 2022.
DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 12TH DAY OF JUNE, 2023.

/S/CHIEF JUSTICE

ALL JUSTICES CONCUR.

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OBA # 447Johnnie Brent Baker1811 Bering Dr Ste 400Houston, TX 77057-3186
OBA # 14986Gordon Lynn Burch III3101 NW 21st StOklahoma City, OK 73107-3009
OBA # 2691Edward David Ellis101 W Houston StParis, TX 75460-4179
OBA # 32227Lindsey Marie Everett5801 E 41st St Ste 300Tulsa, OK 74135-5628
OBA # 32234Krystal J. Godines Camarillo307 Fuller Ave SEGrand Rapids, MI 49506-1639
OBA # 4227Michael W. HinklePO Box 6956Edmond, OK 73083-6956
OBA # 18084Jeri L. Jones1209 E Boston StBroken Arrow, OK 74012-7245
OBA # 30213Suzanne Reed Phillips2862 Valentia StDenver, CO 80238-2512
OBA # 19917Kathleen Therese Ralson418 W Juniper DrMustang, OK 73064-3318
OBA # 11969Marianne Shimanek Ratliff813 Landsdowne DrNorman, OK 73072-4243
OBA # 30423Jessica Justine Scruggs3621 Meadow Lark LnOklahoma City, OK 73120-8934
OBA # 14021Pamela M. Snider1523 N Oklahoma AveShawnee, OK 74804-3848
OBA # 13389Sherry Abbott Todd3062 SE 37th StNorman, OK 73072-8909
OBA # 32210Kevin Mark Vincent4332 Royal Ridge DrDallas, TX 75229-5462
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